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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

)
UNITED STATES OF AMERICA )
) Criminal No. 89-162-6 (RCL)
v. )
)
TONY LEWIS )
FILED
Defendant. ) JAN ~ 9 2013
Clerk, 0.5. District and
Bankruptcy Courts
MEMORANDUM OPINION

 

Now before this Court is defendant Tony Lewis’s Motion for Reconsideration [132],
asking the Court to reconsider its Memorandum and Order [130] denying Mr. Lewis’s Motion
for a sentencing reduction pursuant to 18 U.S.C. § 3582(c)(2). Upon consideration of
defendant’s Motion [132], the entire record herein, the applicable law, and for the reasons set
forth below, defendant’s motion will be denied.

I. BACKGROUND

The Court detailed the background of this case in its July 9, 2012, Memorandum and
Order and need not review it here. See ECF No. 130. Defendant moved for a sentencing
reduction pursuant to 18 U.S.C. § 3582(c)(2) on January 23, 2012. Mot. Retroactive App. 1,
ECF No. 125. Finding that the defendant was not eligible for a sentencing reduction because,
based on his drug convictions he was responsible for the equivalent of 10,000 kilograms of
marijuana and, as such, his guidelines range had not changed, the Court denied his motion.
Mem. & Order 3-4. Defendant now asks the court to reconsider its decision. Mot. Recons. 1,

Aug. 9, 2009, ECF No. 132.
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i. LEGAL STANDARD

Although not expressly authorized by the Federal Rules of Criminal Procedure, motions
for reconsideration are allowed in criminal cases. United States v. Rollins, 607 F.3d 500, 502
(7th Cir. 2010). This is because courts should have the opportunity “to correct their own alleged
errors.” United States v. Dieter, 429 U.S. 6, 8 (1976). However, at least two circuits have held
that a motion for reconsideration after the denial of a § 3582(c)(2) motion must be brought
within the time for appeal under Federal Rule of Appellate Procedure 4(b), that is within 14 days
after the entry of either the judgment or the order being appealed. United States v. Randall, 666
F.3d 1238, 1242 (10th Cir. 2011); United States v. Redd, 630 F.3d 649, 650 (7th Cir. 2011); see
also F. R. App. P. 4(b). But motions for reconsideration in this context are clearly disfavored.
See United States v. Goodwyn, 596 F.3d 233, 236 (4th Cir. 2010) (determining that no provision
exists for reconsideration of § 3582(c)(2) motions); United States v. Aguirre, 214 F.3d 1122,
1124 (9th Cir. 2000) (“While district courts generally have ‘inherent authority’ to decide motions
for reconsideration and rehearing of orders in criminal proceedings, [§ 3582] expressly limits the
court’s authority in sentencing.”). This Court believes that it has the inherent authority to decide
a motion for reconsideration of denial of a § 3582(c)(2) motion, but agrees with the Seventh and
Tenth Circuits that such a motion must be filed within the time for appeal under the Federal
Rules of Appellate Procedure 4(b). See Randall, 666 F.3d at 1242; Redd, 630 F.3d at 650.
Defendant, here, filed his motion more than two weeks after the expiration of his time for
appeal.' This fact alone is sufficient for the Court to deny defendant’s motion. However, for the
sake of clarity, the Court will address the arguments raised in the defendant’s Motion for

Reconsideration.

 

' The Court’s decision was filed on July 9, 2012, and the defendant’s Motion for Reconsideration was filed on
August 9, 2012.
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Il. ANALYSIS

Defendant argues that this Court’s reliance on the marijuana equivalency table in its
original Memorandum and Opinion was in error in light of United States v. Molina, which, the
defendant argues, provides a “doctrine” under which the Court would be justified in ignoring the
drug quantity tables. Mot. Recons. 7 (citing 541 F. Supp. 2d 530 (E.D.N.Y. 2008)). The Court

* While Molina does state in dicta that,

has examined Molina and can find no such doctrine.
given the circumstances of that case, the marijuana equivalency table produced an unjust result,
it is unclear from the opinion whether the Court actually applied the equivalency table or ignored
it. Molina, 541 F. Supp. 2d at 534. What’s more, the defendant cites two other cases in support
of the alleged “Molina doctrine,” both of which undermine rather than buttress the defendant’s
argument. In United States v. Woods, the Seventh Circuit explained that the United States
Sentencing Commission issued amendments 715 and 716 in response to sentencing anomalies
pointed out by the court in Molina and used those amendments to correct those issues. 581 F.3d
531, 537 (7th Cir. 2009). And in United States v. Toran, the court simply detailed how
Amendment 715 corrected the anomalies created by Amendment 706. CR 3:07-00217, 2011
U.S. Dist. Lexis 42970, *1, *2—*4 (S.D.W. Va. 2011).

Defendant also points to United States v. Miller to support his request for a sentencing
reduction. Mot. Recons. 3 (citing 4:89-CR-120 (JMR), 2010 U.S. Dist. LEXIS 79763, *1 (D.
Minn. 2010)). In Miller, the court reduced a mandatory-minimum life sentence for a career
offender on the basis that “the offense conduct level was a dominant factor in the actual decision

to find the career offender category and statutory life sentence applicable.” Jd. at *4. However,

Miller is non-binding authority and is contrary to precedent even in that circuit. See United

 

* Even if Molina stood for such a proposition, Molina’s weight is merely persuasive, not controlling, as Molina was
not only decided by a district court, but one outside of this circuit.

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States v. Forman, 553 F.3d 585, 589-90 (7th Cir. 2009). As Miller itself notes, the case stands
as “a singular and unique exception.” 2010 U.S. Dist. LEXIS 79763 at *4.

Lastly, the defendant avers that the Court “overlooked” factors set forth in 18 U.S.C. §
3553 before denying his motion. Mot. Recons. 6. Section 3582(c)(2) creates a two-step inquiry:
the Court must first determine whether a sentencing reduction is authorized and only then may
the Court “consider whether the authorized reduction is warranted, either in whole or in part,
according to the factors set forth in § 3553(a).” Dillon v. United States, 130 8. Ct. 2683, 2691
(2010). The Court determined that the defendant was not eligible for a sentencing reduction
because his sentence was not based on a guidelines range that had subsequently been lowered.
Mem. & Order 5. Therefore, the Court did not overlook the factors set out by § 3553(a) because
the Court determined that no sentencing reduction was authorized by § 3582(c)(2).

The law is clear: unless the Sentencing Commission has lowered the sentencing range
under which a defendant was sentenced, courts lack subject-matter jurisdiction to consider a
movant’s request for a sentencing reduction under § 3582(c)(2). Forman, 553 F.3d at 588. As
explained in the Court’s previous opinion, the defendant’s sentencing range was not lowered by
U.S.S.G. Amendment 750. Therefore, this Court has no power to modify his sentence.
IV. CONCLUSION

Defendant’s arguments are both time barred and without merit. Therefore, the
defendant’s motion for reconsideration will be denied.

A separate Order consistent with this Memorandum Opinion shall issue this date.

Signed by Royce C. Lamberth, Chief Judge, on January 9, 2013.
